      Case 2:18-cr-00384-APG-EJY Document 65 Filed 09/25/20 Page 1 of 4



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 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,                          Case No. 2:18-cr-00384-APG-EJY
10
                             Plaintiff,                  STIPULATION TO CONTINUE THE
11                                                       DEADLINE FOR RESPONSE AND
                  vs.                                    REPLY TO DEFENDANT JIMMY
12                                                       WASHINGTON JR.’S MOTION TO
      JIMMY WASHINGTON JR.,                              SEVER
13                                                       (SECOND REQUEST)
                             Defendant.
14

15          IT IS HEREBY STIPULATED AND AGREED, by and between NICHOLAS A.

16   TRUTANICH, United States Attorney, and CHRISTOPHER BURTON and BIANCA R.

17   PUCCI, Assistant United States Attorneys, counsel for the United States of America, and

18   Assistant Federal Public Defenders KATHRYN NEWMAN and RAQUEL LAZO, counsel for

19   defendant JIMMY WASHINGTON JR., that the Response to the Motion to Sever deadline

20   currently set for September 24, 2020, be continued and reset to October 29, 2020; and that the

21   Reply to the Motion to Server deadline be set to November 5, 2020.

22          This stipulation is entered into for the following reasons:

23          1.     In determining its response to the defendant’s motion to sever, the government

24   filed a motion in limine concerning the admissibility of certain evidence before taking a position



                                                     1
      Case 2:18-cr-00384-APG-EJY Document 65 Filed 09/25/20 Page 2 of 4



 1   on the motion to sever. Defendant filed a response and the motion is currently pending a decision
 2   by the Court.
 3             2.    Once the motion in limine is decided, the government will be able to take a position
 4   on the motion to sever.
 5             3.    The government contacted defense counsel and they agreed to the continuance.
 6             4.    The defendant is currently detained pending trial but does not object to a
 7   continuance.
 8             5.    The additional time requested herein is not sought for purposes of delay, but to
 9   allow the government the opportunity to resolve necessary issues in order to take an informed
10   position on the motion to sever.
11             6.    This is the second stipulation to continue the response and reply deadlines filed
12   herein.
13   DATED this 24th day of September, 2020.
14
                                                                Respectfully submitted,
15
                                                                NICHOLAS A. TRUTANICH
16                                                              United States Attorney

17
             //s//                                                      //s//
18   KATHRYN NEWMAN                                             CHRISTOPHER BURTON
     RAQUEL LAZO                                                BIANCA R. PUCCI
19   Counsel for Defendant                                      Assistant United States Attorneys
     JIMMY WASHINGTON JR.
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      Case 2:18-cr-00384-APG-EJY Document 65 Filed 09/25/20 Page 3 of 4



 1
                                  UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3

 4    UNITED STATES OF AMERICA,                               2:18-cr-00384-APG-EJY

 5                             Plaintiff,

 6                  vs.                                       ORDER

 7    JIMMY WASHINGTON JR.,

 8                             Defendant.

 9             Based on the pending Stipulation of counsel, and good cause appearing therefore, the

10   Court finds that:

11             1.    In determining its response to the defendant’s motion to sever, the government

12   filed a motion in limine concerning the admissibility of certain evidence before taking a position

13   on the motion to sever. Defendant filed a response and the motion is currently pending a decision

14   by the Court.

15             2.    Once the motion in limine is decided, the government will be able to take a position

16   on the motion to sever.

17             3.    The government contacted defense counsel and they agreed to the continuance.

18             4.    The defendant is currently detained pending trial but does not object to a

19   continuance.

20             5.    The additional time requested herein is not sought for purposes of delay, but to

21   allow the government the opportunity to resolve necessary issues in order to take an informed

22   position on the motion to sever.

23             6.    This is the second stipulation to continue the response and reply deadlines filed

24   herein.



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      Case 2:18-cr-00384-APG-EJY Document 65 Filed 09/25/20 Page 4 of 4



 1          THEREFORE, good cause appearing, it is ORDERED that that the Response to the
 2   Motion to Sever is vacated and reset to October 29, 2020; and that the Reply to the Motion to
 3   Server deadline is set to November 5, 2020.
 4   DATED 25th day of September, 2020.

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                                             _______________________________________
 7                                           UNITED STATES MAGISTRATE JUDGE

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